           Case 1:15-cv-00737-RCL Document 36 Filed 03/28/16 Page 1 of 2



                             UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA

 MAGGIE SMITH, et al.

 On behalf of themselves and all others
 similarly situated,

 Plaintiffs,
                                                   Civil Action No.: 15-737 (RCL)
   v.

 GOVERNMENT OF THE DISTRICT OF

 COLUMBIA

 Defendant.



    PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO AMEND MOTION FOR

        CLASS ACTION TREATMENT TO ADD STATEMENT ON NOTICE ISSUES


         Maggie Smith, Gerard Cassagnol, and Frederick Rouse (the “Named Plaintiff”) hereby

respectfully move this Court for leave to amend their motion for class action treatment [26] to

address the notice provisions. The District does not oppose plaintiff’s motion for leave to amend.

District Courts in this Court generally grant motions to supplement especially when they are

unopposed as in this instance. Alexander v. FBI, 194 F.R.D. 316, 322 (D.D.C. 2000).


         LCvR 23.1(c) provides:


         In an action maintained under Fed. R. Civ. P. 23(b)(3), the plaintiff shall include
         in the motion for certification a statement proposing (1) how, when, by whom,
         and to whom the notice required by Fed. R. Civ. P. 23(c)(2) shall be given, (2)
         how and by whom payment therefore is to be made, and (3) by whom the
         response to the notice is to be received. In lieu of such a statement the movant
         may state reasons why a determination of these matters cannot then be made, and
         offer a proposal as to when the determination should be made. In certifying a


                                               Page 1
          Case 1:15-cv-00737-RCL Document 36 Filed 03/28/16 Page 2 of 2



        class action as maintainable under Fed. R. Civ. P. 23(b)(3), the Court may include
        in its order the provisions for notice pursuant to Fed. R. Civ. P. 23(c)(2) or may
        postpone a determination of the matter.

        Plaintiffs did not include such a statement in their motion for certification.


        Plaintiffs now state that they propose deferring a determination of notice issues until after

liability determinations of the case. Defendant District of Columbia consents to defer sending

notice until after determination of liability.


.Respectfully submitted,                             Respectfully submitted,


/s/ William Claiborne                                /s/ Joseph A. Scrofano
WILLIAM CLAIBORNE                                    JOSEPH A. SCROFANO
D.C. Bar # 446579                                    D.C. Bar # 994083

Counsel for plaintiffs on behalf of themselves       Counsel for plaintiffs on behalf of themselves
and the putative class members                       and the putative class members

2020 Pennsylvania Ave., N.W                          406 5th Street NW
Suite 395                                            Suite 100
Washington, DC 20006                                 Washington, DC 20001
Phone 202/824-0700                                   Phone (202) 870-0889
Email claibornelaw@gmail.com                         Email jas@scrofanolaw.com




                                                 Page 2
